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 1   LYNNE C. HERMLE (STATE BAR NO. 99779)
     KEVIN WHITTAKER (STATE BAR NO. 224700)
 2   ORRICK, HERRINGTON & SUTCLIFFE LLP
     1000 Marsh Road
 3   Menlo Park, California 94025
     Telephone: 650-614-7400
 4   Facsimile:   650-614-7401
     lchermle@orrick.com
 5   kwhittaker@orrick.com

 6   Attorneys for Defendant
     SPLUNK, INC.
 7
     RORY C. QUINTANA (STATE BAR NO. 258747)
 8   QUINTANA HANAFI, LLP
     870 Market Street, Suite 1115
 9   San Francisco, CA 94102
     Telephone: (415) 504-3121
10   Facsimile: (415) 233-8770
     rory@qhplaw.com
11
     Attorneys for Plaintiff
12   CHRISTOS TRYFONAS

13                                 UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15

16   CHRISTOS TRYFANOS, an individual,                    Case No. 4:17-CV-01420-HSG
17                    Plaintiff,                          STIPULATION FOR DISMISSAL AND
                                                          ORDER
18         v.
19   SPLUNK, INC., a Delaware corporation; and
     DOES 1 through 10, inclusive,
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                      Defendants.
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                                     STIPULATION FOR DISMISSAL AND ORDER
       Case 4:17-cv-01420-HSG Document 68 Filed 12/20/18 Page 2 of 3




 1          TO THE COURT AND ALL PARTIES OF RECORD:
 2          Plaintiff, CHRISTOS TRYFONAS, by and through his attorneys of record, and
 3   Defendant, SPLUNK, INC., by and through its attorneys of record, hereby stipulate to the
 4   dismissal of this action with prejudice, each party to bear its own attorneys fees and costs.
 5

 6     Dated: December 20, 2018                      LYNNE C. HERMLE
                                                     KEVIN WHITTAKER
 7                                                   Orrick, Herrington & Sutcliffe LLP
 8

 9                                                   By:     /s/ Kevin Whittaker
10                                                                   KEVIN WHITTAKER
                                                                     Attorneys for Defendant
11                                                                       SPLUNK, INC.

12     Dated: December 20, 2018                      RORY C. QUINTANA
                                                     Quintana Hanafi, LLP
13

14
                                                     By:     /s/ Rory C. Quintana
15                                                                       Rory C. Quintana
                                                                      Attorneys for Plaintiff
16                                                                  CHRISTOS TRYFONAS

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                                      STIPULATION FOR DISMISSAL AND ORDER
            Case 4:17-cv-01420-HSG Document 68 Filed 12/20/18 Page 3 of 3




  1                                                     ORDER
  2                TO ALL PARTIES OF RECORD:
  3                Based on the parties’ stipulation, the Court hereby orders the above-entitled case
  4     dismissed with prejudice per FRCP 41(A)(2).
  5                IT IS SO ORDERED.
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  7       Dated: December 20, 2018
  8                                                                   HAYWOOD S. GILLIAM, JR.
                                                                       United States District Judge
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                                            STIPULATION FOR DISMISSAL AND ORDER
